Case 1:22-cr-00673-LAK   Document 491-9   Filed 09/05/24   Page 1 of 2




                         Exhibit 7
     Case 1:22-cr-00673-LAK                 Document 491-9               Filed 09/05/24   Page 2 of 2


From:             Swett, Sebastian (USANYS)
To:               Simon, Stephanie (USANYS); Swett, Sebastian (USANYS)
Subject:          2024.08.19 TC re Bond
Date:             Monday, August 19, 2024 5:32:01 PM


Gina Parlovecchio
Jason Linder
Stephanie Simon
Sheb Swett

Sheb: GJ returned indictment, with summons to appear on Wednesday.
GP: Surprised to have not heard back in respect to other issue we raised – decision to continue
investigating MB
Sheb: heard report, considered it, felt we could move forward with charges
GP: Would have wanted to raise it up the chain; usually a response / opportunity to seek further
process
                Taken aback that not provided
                Happy to have discussions about logistics on other part
Sheb: No request for further process, we didn’t understand that was something you wanted
                Charges went through supervisory review.
                On logistics, understand difficulties with travel, but we want surrender this week, one day
push at most.
JL: Will get back to you.
